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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

ECOFACTOR, INC,

                        Plaintiff,                      Case No. 6:22-cv-00068

                 v.                                     JURY TRIAL DEMANDED

AMAZON.COM, INC.,

                        Defendant.



                        COMPLAINT FOR PATENT INFRINGEMENT

        This is an action for patent infringement arising under the Patent Laws of the United States

of America, 35 U.S.C. § 1 et seq., in which Plaintiff EcoFactor, Inc. (“Plaintiff” or “EcoFactor”)

makes the following allegations against Defendant Amazon.com, Inc. (“Defendant”):

                                          INTRODUCTION

        1.       This complaint arises from Defendant’s unlawful infringement of the following

United States patents owned by EcoFactor: and U.S. Patent No. 10,534,382 (“’382 Patent”); U.S.

and Patent No. 10,584,890 (“’890 Patent”) (collectively the “Asserted Patents”). EcoFactor owns

all right, title, and interest in each of the Asserted Patents.

                                               PARTIES

        2.       EcoFactor is a privately held company, having its principal place of business at 441

California Avenue, Number 2, Palo Alto, CA 94301. EcoFactor was founded in 2006 and is

headquartered in Palo Alto, California. EcoFactor is a leader in smart home energy management

services. EcoFactor delivers smart home energy management services that improve energy

efficiency, reduce energy bills and vastly increase demand response efficacy – all while




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maintaining consumer comfort. EcoFactor’s patented big-data analytics and machine learning

algorithms collect and process massive amounts of residential data – including home

thermodynamics, family comfort preferences and schedules, plus external data such as weather –

to continually monitor, adapt and learn for optimum energy savings. The company provides

homeowners significant cost savings and energy usage benefits. EcoFactor’s award-winning

service has been offered through channel partners such as utilities, energy retailers, broadband

service providers and HVAC companies.

       3.       EcoFactor transformed how homes use energy by applying advanced analytics to

connected devices in the home. EcoFactor developed a suite of software known as the “EcoFactor

Platform” that incorporates EcoFactor’s patented data analytics and machine learning algorithms,

as well as EcoFactor’s award-winning smart HVAC control technologies. The EcoFactor Platform

is software that runs on servers, including cloud servers, in the United States, and provides service

to customers in the United States. The source code of the EcoFactor Platform, including for

example the platform, quant, and mobile application source code, that comprises the EcoFactor

Platform was designed by, created by, and is continuously maintained and improved by EcoFactor

employees working in the United States. The EcoFactor Platform actively manages thermostats on

occupants’ behalf in intelligent ways that improve comfort while helping them save time, energy

and money. Utilities, home service providers and homeowners rely on EcoFactor for demand

response, energy efficiency, and HVAC performance monitoring services. The EcoFactor Platform

includes the software that practices EcoFactor’s patents on these features. For example, the

EcoFactor Platform includes EcoFactor’s patented techniques for monitoring the health and

performance of HVAC systems over time, smart thermostat scheduling to improve energy savings

and optimize comfort for occupants, and thermodynamic modeling of the user’s home and HVAC




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system to enable dynamic pre-cooling and pre-heating to further improve comfort, save energy, or

both, by creating comfortable schedules that also shift energy usage out of periods of peak energy

demand.

         4.       The patented innovations at issue in this action were invented by EcoFactor

engineers and researchers. EcoFactor has played a significant role in the development and

advancement of such improvements to energy management technology—and the domestic market

for them. EcoFactor has expended tens of millions of dollars of research and development and

technical services and support in the United States. In recent years, an explosion of imported

products that infringe EcoFactor’s innovative Asserted Patents has significantly eroded

EcoFactor’s market standing. This infringement action is about several patented improvements to

smart thermostat systems, smart HVAC systems, and smart HVAC control systems—which took

years of research and millions of dollars in U.S. investments to develop, and which are infringed

by Defendant’s accused products.

                                               PARTIES

         5.       Plaintiff EcoFactor is a privately held company, having its principal place of

business at 441 California Avenue, Number 2, Palo Alto, CA 94301. EcoFactor was founded in

2006 and is headquartered in Palo Alto, California. EcoFactor is the sole owner of all right, title,

and interest in each Asserted Patents.

         6.       Defendant Amazon.com, Inc. is a corporation organized under the laws of the State

of Delaware, with its principal place of business at 410 Terry Avenue North, Seattle, Washington

98109.

                                   JURISDICTION AND VENUE

         7.       This action arises under the patent laws of the United States, Title 35 of the United




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States Code. This Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

       8.       This Court has personal jurisdiction over Defendant in this action because

Defendant has committed acts within this District giving rise to this action, and has established

minimum contacts with this forum such that the exercise of jurisdiction over Defendant would not

offend traditional notions of fair play and substantial justice. Defendant, directly and through

subsidiaries or intermediaries, has committed and continue to commit acts of infringement in this

District by, among other things, importing, offering to sell, and selling products that infringe the

asserted patents.

       9.       Venue is proper in this District under 28 U.S.C. § 1400(b). Upon information and

belief, Defendant has transacted business in this District and has committed acts of direct and

indirect infringement in this District by, among other things, making, using, offering to sell, selling,

and importing products that infringe the Asserted Patents. Defendant has a regular and established

place of business in the District, including offices at 11501 Alterra Parkway, Austin, Texas, and a

fulfillment center at 2093-2209 Rutland Drive, Austin, Texas 78758. Further, Amazon’s website

lists over 500 jobs available in the Austin area.

                         THE TECHNOLOGY AND PRODUCTS AT ISSUE

       10.      The products accused of infringing one or more of the Asserted Patents are smart

thermostat systems, smart HVAC systems, smart HVAC control systems, and all components

(including accessories) thereof offered for sale by Defendant.

       11.      The Accused Products include thermostat systems that connect to and control an

HVAC system, they include smart HVAC systems, and they include components of such systems

such as, for example, hubs, panels, and remote sensors. These thermostat devices communicate




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over a network with other devices and systems offered by Defendant. The Accused Products

connect to the network managed by Defendant via the Internet. For example, the Accused Products

connect to Defendant’s networked servers and data centers, online interfaces, and related

accessories.

       12.     When connected as designed, the Accused Products form a smart thermostat

system, smart HVAC system, and/or smart HVAC control system. Defendant’s smart thermostat

systems are “smart” because they are designed to connect to Defendant’s servers and data centers

(including, e.g., cloud-based servers and backend support), related online interfaces (including,

e.g., mobile apps and web portals), and related accessories (e.g., remote temperature sensors), upon

importation in the United States. Further, Defendant’s smart thermostat systems are “smart”

because they support and are marketed as providing features to end users that analyze thermostat

and HVAC system data gathered by the smart thermostat systems.

       13.     The Accused Products constitute the “frontend” of the smart thermostat system,

smart HVAC system, and/or smart HVAC control system. Such smart thermostat devices can be

programmed using the servers and the network maintained by Defendant and which form the

“backend” for the smart thermostat. Such smart thermostat systems can be programmed remotely

with a web or mobile application offered by Defendant. The web or mobile application

communicates with the smart thermostat via computer servers or data centers managed by

Defendant, who sells and imports the smart thermostat. Each Defendant allows an end user to use

a web or mobile application on a mobile phone, tablet, laptop, or other computing device to control

the smart thermostat systems, such as by adjusting temperature settings. Defendant’s smart

thermostat systems also communicate data using the network. For example, Defendant’s smart

thermostat systems send and receive temperature data and/or temperature settings using the




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network.

        14.     Defendant’s Accused Products are designed and specially made and adapted to

infringe claims of the Asserted Patents and to embody a material part of the claimed inventions.

The Accused Products are installed and used in the United States according to Defendant’s design

and instructions. Defendant has knowledge as well as notice of its infringement of each asserted

patent at least as of October 21, 2019. Defendant knowingly induces and encourages the use of the

Accused Products in the United States in a manner that infringes the asserted claims of the Asserted

Patents. Defendant infringes the Asserted Patents directly, through making, using, selling, and/or

offering for sale the Accused Products. Defendant also infringes the Asserted Patents indirectly,

both for example through contributory infringement as well as through induced infringement. The

infringement of the Asserted Patents is also attributable to Defendant. Defendant and/or users of

the Accused Products directs and controls use of the Accused Products to perform acts that result

in infringement the Asserted Patents, conditioning benefits on participation in the infringement

and establishing the timing and manner of the infringement.

                                             COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 10,534,382

        15.     Plaintiff realleges and incorporates by reference the foregoing paragraphs as if fully

set forth herein.

        16.     Plaintiff is the owner and assignee of United States Patent No. 10,534,382 titled

“System and method for using a wireless device as a sensor for an energy management system.”

The ’382 Patent was duly and legally issued by the United States Patent and Trademark Office on

January 14, 2020. Plaintiff is the owner and assignee, possessing all substantial rights, to the ’382

Patent. A true and correct copy of the ’382 Patent is attached as Exhibit 1.




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       17.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports (or has done so within the damages period) certain smart thermostat products (“Accused

Products”), such as the Amazon Smart Thermostat (e.g., S6ED3R), that directly infringe, literally

and/or under the doctrine of equivalents, claims 1-20 of the ’382 Patent. The Accused Products

additionally include Amazon servers, backend systems, web portals, APIs, Alexa mobile app, and

remote sensor accessories that support these thermostats.

       18.     The infringement of the ’382 Patent is also attributable to Defendant. Defendant

and/or users of the Accused Products directs and controls use of the Accused Products to perform

acts that result in infringement of the patent, conditioning benefits on participation in the

infringement and establishing the timing and manner of the infringement.

       19.     Defendant also knowingly and intentionally induces infringement of claims of the

’890 Patent in violation of 35 U.S.C. § 271(b). Through at least the filing and service of this

Complaint, Defendant has had knowledge of the ’382 Patent and the infringing nature of the

Accused Products. Despite this knowledge of the ’382 Patent, Defendant continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website) to use the Accused Products in ways that directly infringe the

’382 Patent. Defendant does so knowing and intending that its customers and end users will

commit these infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or

import the Accused Products, despite its knowledge of the ’382 Patent, thereby specifically

intending for and inducing its customers to infringe the ’382 Patent through the customers’ normal

and customary use of the Accused Products.

       20.     Defendant has also infringed, and continue to infringe, claims of the ’382 Patent by

offering to commercially distribute, commercially distributing, making, and/or importing the




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Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently is, contributorily infringing the ’382 Patent, in

violation of 35 U.S.C. § 271(c).

       21.     The Accused Products satisfy all claim limitations of claims of the ’382 Patent. A

claim chart comparing claim elements of the ’382 Patent to representative Accused Products, is

attached as Exhibit 2.

       22.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured EcoFactor and is liable for infringement of the ’890

Patent pursuant to 35 U.S.C. § 271.

       23.     As a result of Defendant’s infringement of the ’382 Patent, EcoFactor is entitled to

monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

       24.     Defendant’s infringing activities have injured and will continue to injure EcoFactor,

unless and until this Court enters an injunction prohibiting further infringement of the ’382 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 10,584,890

       25.     EcoFactor realleges and incorporates by reference the foregoing paragraphs as if




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fully set forth herein.

        26.     EcoFactor owns all rights, title, and interest in U.S. Patent No. 10,584,890, titled

“System and Method for Using a Mobile Electronic Device to Optimize an Energy Management

System,” issued on Mar. 10, 2020. The inventor of the ’890 Patent is John Douglas Steinberg. The

’597 Patent is based on U.S. Pat. App. No. 16/374,246, filed on Apr. 3, 2019, which is a

continuation of U.S. Pat. App. No. 16/264,050, filed on Jan. 31, 2019, which is a continuation of

U.S. Pat. App. No. 15/616,719, filed on June 7, 2017, which is a continuation of U.S. Pat. App.

No. 14/491,554, filed on Sept. 19, 2014, which is a continuation of U.S. Pat. App. No. 14/048,932,

filed on Oct. 8, 2013, which is a continuation of U.S. Pat. App. No. 12/788,246, filed on May 26,

2010. A true and correct copy of the ’890 Patent is attached as Exhibit 3.

        27.     On information and belief, Defendant makes, uses, offers for sale, sells, and/or

imports (or has done so within the damages period) certain smart thermostat products (“Accused

Products”), such as the Amazon Smart Thermostat (e.g., S6ED3R), that directly infringe, literally

and/or under the doctrine of equivalents, claims 1-17 of the ’890 Patent. The Accused Products

additionally include Amazon servers, backend systems, web portals, APIs, Alexa mobile app, and

remote sensor accessories that support these thermostats.

        28.     The infringement of the ’890 Patent is also attributable to Defendant. Defendant

and/or users of the Accused Products directs and controls use of the Accused Products to perform

acts that result in infringement of the patent, conditioning benefits on participation in the

infringement and establishing the timing and manner of the infringement.

        29.     Defendant also knowingly and intentionally induces infringement of claims of the

’890 Patent in violation of 35 U.S.C. § 271(b). Through at least the filing and service of this

Complaint, Defendant has had knowledge of the ’890 Patent and the infringing nature of the




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Accused Products. Despite this knowledge of the ’890 Patent, Defendant continues to actively

encourage and instruct its customers and end users (for example, through user manuals and online

instruction materials on its website) to use the Accused Products in ways that directly infringe the

’890 Patent. Defendant does so knowing and intending that its customers and end users will

commit these infringing acts. Defendant also continues to make, use, offer for sale, sell, and/or

import the Accused Products, despite its knowledge of the ’890 Patent, thereby specifically

intending for and inducing its customers to infringe the ’890 Patent through the customers’ normal

and customary use of the Accused Products.

       30.     Defendant has also infringed, and continue to infringe, claims of the ’890 Patent by

offering to commercially distribute, commercially distributing, making, and/or importing the

Accused Products, which are used in practicing the process, or using the systems, of the patent,

and constitute a material part of the invention. Defendant knows the components in the Accused

Products to be especially made or especially adapted for use in infringement of the patent, not a

staple article, and not a commodity of commerce suitable for substantial noninfringing use.

Accordingly, Defendant has been, and currently is, contributorily infringing the ’890 Patent, in

violation of 35 U.S.C. § 271(c).

       31.     The Accused Products satisfy all claim limitations of claims of the ’890 Patent. A

claim chart comparing claim elements of the ’890 Patent to representative Accused Products, is

attached as Exhibit 4.

       32.     By making, using, offering for sale, selling and/or importing into the United States

the Accused Products, Defendant has injured EcoFactor and is liable for infringement of the ’890

Patent pursuant to 35 U.S.C. § 271.

       33.     As a result of Defendant’s infringement of the ’890 Patent, EcoFactor is entitled to




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monetary damages in an amount adequate to compensate for Defendant’s infringement, but in no

event less than a reasonable royalty for the use made of the invention by Defendant, together with

interest and costs as fixed by the Court.

        34.      Defendant’s infringing activities have injured and will continue to injure EcoFactor,

unless and until this Court enters an injunction prohibiting further infringement of the ’890 Patent,

and, specifically, enjoining further manufacture, use, sale, importation, and/or offers for sale that

come within the scope of the patent claims.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter:

        a.       A judgment in favor of Plaintiff that Defendant has infringed, literally and/or under

the doctrine of equivalents, the ’382 Patent and the ’890 Patent;

        b.       A permanent injunction prohibiting Defendant from further acts of infringement of

the ’382 Patent and the ’890 Patent;

        c.       A judgment and order requiring Defendant to pay Plaintiff its damages, enhanced

damages, costs, expenses, and pre-judgment and post-judgment interest for Defendant’s

infringement of the ’382 Patent and the ’890 Patent;

        d.       A judgment and order requiring Defendant to provide an accounting and to pay

supplemental damages to Plaintiff, including without limitation, pre-judgment and post-judgment

interest;

        e.       A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees against Defendant; and

        f.       Any and all other relief as the Court may deem appropriate and just under the

circumstances.




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                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.



Dated: January 18, 2022                      Respectfully submitted,


                                             /s/ Reza Mirzaie
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